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     1                        UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
     2                             ALEXANDRIA DIVISION

     3
         DORA BELTRAN, AS NEXT FRIEND OF)
     4   R.M.B., A MINOR                )
                                        )
     5                                  )
              VS.                       ) 1:15-CV-745   JCC/JFA
     6                                  )
                                        ) ALEXANDRIA, VIRGINIA
     7                                  )  JULY 30, 2015
                                        )
     8   DARRYL POSTON, ET AL.          )
         _______________________________)
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         _______________________________________________________________
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                            TRANSCRIPT OF MOTION HEARING
    15                  BEFORE THE HONORABLE JAMES C. CACHERIS
                            UNITED STATES DISTRICT JUDGE
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    24   Proceedings reported by stenotype, transcript produced by

    25   Julie A. Goodwin.


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     1   (JULY 30, 2015, 10:56 A.M., OPEN COURT.)

     2               THE COURT:    Beltran versus Poston, et al.

     3               MR. BARGHAAN:   Good morning, Your Honor.      Assistant

     4   United States attorney Dennis Barghaan on behalf of federal

     5   respondents.    With me at counsel's table today is Judy Haron,

     6   who's a counsel with the Department of Homeland -- Homeland --

     7   Department of Health and Human Services.

     8               THE COURT:    Glad to have her with us.

     9               MR. SANDOVAL-MOSHENBERG:    Good morning, Judge.      Simon

    10   Sandoval-Moshenberg, Legal Aid Justice Center, Falls Church,

    11   Virginia.    With me is my colleague, Susan Watson, who's pro hac

    12   vice has been approved from Texas RioGrande Legal Aid --

    13               THE COURT:    Glad to have her with us.

    14               MR. SANDOVAL-MOSHENBERG:    --   here on behalf of

    15   petitioner.

    16               MS. WATSON:   Good morning, Your Honor.

    17               MR. SANDOVAL-MOSHENBERG:    Judge, I'll be arguing the

    18   motion to strike.     Ms. Watson will be arguing the merits --

    19               THE COURT:    I'll take the motion to strike first.

    20                  Let me ask you this.    Obviously this case requires

    21   an opinion.    Is it all right if I just use the initials of Ms.

    22   Beltran?

    23               MS. WATSON:   That's fine, Your Honor.

    24               THE COURT:    As next friend of R.M.B., a minor,

    25   whatever.    Yeah, that way -- such an important case that needs


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     1   a published opinion, anyhow.

     2             MS. WATSON:    Thank you, Your Honor.

     3             THE COURT:    All right, sir.

     4             MR. SANDOVAL-MOSHENBERG:      Thank you, Judge.

     5             THE COURT:    Mr. Moshenberg.

     6             MR. SANDOVAL-MOSHENBERG:      Judge, as a preliminary

     7   matter, I must mention that our central contentions litigation

     8   is that ORR lacks the power to detain.        On that legal theory,

     9   the James De La Cruz declaration is actually not relevant at

    10   all to that question one way or the other.

    11                 Our second contention, though, of course on the

    12   merits, is that R.M.B. is not and never was an unaccompanied

    13   alien child, or UAC.     And for that, the question is whether the

    14   mother was, quote, available.       That's the word in the statute

    15   that's relevant.

    16                 So on that, the De La Cruz declaration is at best

    17   relevant as circumstantial evidence as to whether the mother

    18   was available within the meaning of the statute.          And here, I'm

    19   referring specifically to paragraphs 3 and 4 which are the

    20   paragraphs of the declaration which purport to describe what

    21   happened, the interaction between Customs and Border Patrol,

    22   CBP, and R.M.B. down in Rio Grande City, Texas.          So the

    23   question really central for this motion to strike is are those

    24   two paragraphs admissible.

    25                 Now the Government is pointing to 803(6), the


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     1   business records hearsay exception, but that's -- 6(D) is not

     2   met.   6(D) requires for a business record that there be

     3   testimony of the custodian or another qualified witness or a

     4   certification that complies with Rule 902 or a statute

     5   permitting certification.

     6                  That hasn't been met by James De La Cruz, and it

     7   can't possibly be met by James De La Cruz because Mr. De La

     8   Cruz is with ORR, which is a sub-agency of HHS.          CVP, of

     9   course, is a completely other kind of a department.          It's a

    10   sub-agency of DHS.

    11                  Now the Government provides a number of cases on

    12   page 4 of its opposition, arguing that essentially this is a

    13   30(b)(6) declaration by Mr. De La Cruz.        And they point to a

    14   bunch of cases, but every single one of those cases arises on

    15   the posture of a summary judgment motion under Federal Rule of

    16   Civil Procedure 56.

    17                  Now Federal Rule of Civil Procedure 56 has its own

    18   admissibility standard which is 56(c).        And 56(c) essentially

    19   says if it -- if it could be presented in a form that would be

    20   admissible in evidence, you can have a 30(b)(6) declarant to

    21   that effect.    5062, a party may object at the material cited to

    22   support or dispute a fact cannot be presented in a form that

    23   would be admissible in evidence.

    24                  But that's very different evidentiary standard from

    25   when the Court is finally called upon to decide the facts of


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     1   the matter on the merits.      Right?   At trial you can't present

     2   hearsay evidence and then say, well, I could have brought the

     3   actual initial declarant.      I could have brought non-hearsay

     4   evidence, so it's okay that I'm presenting this hearsay

     5   evidence.   At trial, the hearsay evidence is simply not

     6   admissible even though it hypothetically could be presented in

     7   some non-hearsay way.

     8                 So it's quite clear that just because a corporate

     9   designee can say something in a 30(b)(6) deposition or an

    10   affidavit, it doesn't mean that the same human being can

    11   necessarily testify to that fact once the Court is finally

    12   called upon to decide the merits of the case and decide what

    13   facts are true and what facts are false.        Right?

    14                 I mean, a company can designate its janitor as a

    15   30(b)(6) designee as long as the janitor studies up by

    16   reviewing the relevant business records.        It doesn't mean that

    17   the janitor can come to trial, testify as to the contents of

    18   those business records, lay the foundation to get those

    19   business records into evidence.

    20                 And then finally, Judge, the last thing I'd like to

    21   mention is the Government cited to -- a case out of this court,

    22   Judge Ellis, In Re: Outside Wall Tire Litigation.          I think that

    23   case is actually quite helpful because in that case Judge Ellis

    24   found that in litigation between private parties, essentially,

    25   a patent and trademark PTO file was not admissible as a


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     1   business record because the statements by the PTO examiner were

     2   considered inadmissible hearsay and thus couldn't be offered

     3   for the truth of the matter.

     4                 So here, obviously, this is not litigation between

     5   private parties, but it's litigation between an individual and

     6   ORR.   What we have is an ORR declarant purporting to tell us

     7   what happened at the scene on the street where no one from ORR

     8   was even there.    Right?    It was a CBP agent that was there.

     9                 The Government correctly pointed out that we did

    10   not move to strike Exhibit B.       I'm going to eat a little bit of

    11   crow for that, Judge, but I'm here -- now that we are here on

    12   the habeas petition, you know, I'm here to object in open court

    13   to the admissibility of Exhibit B as well on -- on hearsay

    14   grounds.

    15                 Thank you, Judge.

    16              THE COURT:   Okay.   Let me just say before I hear from

    17   Mr. Barghaan, I've got a judge's meeting at 11:30, so I'll have

    18   to recess then and pick you up depending on what arguments you

    19   have left.

    20                 Go ahead, Mr. Barghaan.

    21              MR. BARGHAAN:    Your Honor, I'll be very quick on this.

    22   I think this is a completely a mountain out of a molehill.

    23                 Mister -- Mr. Sandoval mentions that this is a

    24   quite -- quite correctly notes that this is litigation against

    25   ORR.   As we said in our paper, this Court asked ORR in its


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     1   order, the only two peop -- the only two entities of the

     2   federal government named are HHS and ORR by their own design.

     3   They -- this Court asked those two entities to -- to explain

     4   why the writ ought not issue.       And so the De La Cruz

     5   declaration, as we note, is an attempt much like Rule 30(b)(6)

     6   which, as Mr. Sandoval also concedes, is appropriate on paper

     7   submissions in a summary judgment-like context which is --

     8   which is much like what's going on here, to provide this Court

     9   with the reasons for which ORR is continuing its custody of

    10   R.M.B.   That's all that's going on here.

    11                 In fact, Your Honor, it's quite ironic that we see

    12   this motion to strike because the very reason that ORR exists

    13   outside of DHS and CBP in the first instance is to separate

    14   those two entities so that you have ORR relying on things that

    15   CBP has told them, but they make their own decisions about

    16   detention and custody more generally.

    17                 Because it is akin to a Rule 30(b)(6) declarant and

    18   because there is no motion to strike before the Court on

    19   Exhibit B, which is the document on which Mr. De La Cruz

    20   premises the majority of those two paragraphs, the only two

    21   paragraphs that Mr. Sandoval articulates here today, the Court

    22   should deny the motion.

    23                 Thank you.

    24             THE COURT:    Okay.   Anything else?

    25             MR. SANDOVAL-MOSHENBERG:      No, Judge.    Thank you.


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     1               THE COURT:    I'm going to take it under advisement.

     2                 Okay.   Let's go to the merits of the habeas corpus

     3   motion.

     4                 Ms. Watson, what do you think the standard of

     5   review is on this?

     6               MS. WATSON:   On the habeas petition?

     7               THE COURT:    Yes, ma'am.

     8               MS. WATSON:   A preponderance of the evidence.

     9               THE COURT:    Okay.

    10               MS. WATSON:   It's a civil matter before the Court,

    11   Your Honor.

    12               THE COURT:    Very well.    Go ahead.

    13               MS. WATSON:   I'd like to begin by thanking the Court

    14   for allowing me to appear.        It's a great honor to be here in

    15   Virginia with you today.      And I'd also like to clarify for our

    16   reporter, who I see, with our alphabet soup.

    17                 When I refer to CBP, that's of course Customs and

    18   Border Protection which is an agency within the Department of

    19   Homeland Security, and ORR as the Office of Refugee

    20   Resettlement within the Department of Health and Human

    21   Services.

    22               THE COURT:    I think Ms. Egal will find that very

    23   helpful.

    24                 Go ahead.    As I will.    Go ahead.

    25               MS. WATSON:   I know that the Court has an obligation


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      1   soon, and this matter has been well briefed before the Court.

      2   I will restrict my comments to the essence of why we're here

      3   today and make clear, as we hopefully did in our traverse and

      4   in the petition itself that this is a petition for a writ of

      5   habeas corpus.    It is a petition asking this Court to decide

      6   whether the federal government has the authority, the power,

      7   any legal basis for continuing the detention of a minor who was

      8   arrested by federal immigration officials, who was placed in

      9   detention by virtue of that immigration arrest.         Was eventually

    10    for some unexplained reason a year and a half later eventually

    11    presented to an immigration judge who then terminated those

    12    removal proceedings that have the effect of canceling the

    13    underlying warrant that gives rise to the detention in the

    14    first place by operation of law.

    15                   That is not in dispute.    The Government does not

    16    dispute those, either those facts that he was arrested by

    17    immigration officials, that he was detained pursuant to that

    18    immigration arrest, that the termination was issued by an

    19    immigration judge, and the effect -- the legal effect of that

    20    termination.    It's not addressed anywhere in their response.

    21    That alone should be dispositive.

    22                   There is no distinction in the Immigration and

    23    Nationality Act, which is the INA, or in the 8 CFR, which are

    24    the regulations enacting the federal -- the Immigration and

    25    Nationality Act, that distinguish the legal effect of


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      1   termination of proceedings between adults and children or

      2   accompanied children and unaccompanied children.

      3                We, of course, also contend that he's wrongfully

      4   detained because he is not now and has never been an

      5   unaccompanied alien child, as that term is defined in 6 U.S.C.

      6   279(g)(2), I believe, which has two requirements that there be

      7   a present -- a parent present in the United States and that

      8   parent be available.

      9             THE COURT:    His mother was both.

    10              MS. WATSON:    Correct, Your Honor.     And it is our

    11    contention that it's both.      And whether that decision was made

    12    in error by the CBP official, whether it was coerced in nature

    13    is perhaps a different question for --

    14              THE COURT:    Wasn't she about 150 miles away from him

    15    when he was first detained?

    16              MS. WATSON:    That's -- that's about the right

    17    distance, Your Honor.

    18              THE COURT:    Yeah.

    19              MS. WATSON:    She was in Corpus Christi and he was in

    20    Rio Grande City.

    21              THE COURT:    And she started across and then they told

    22    her --

    23              MS. WATSON:    She started to come get -- she -- they

    24    told her to get his --

    25              THE COURT:    Turn around.


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      1               MS. WATSON:   Because he had already been granted -- as

      2   a victim of domestic violence, she had applied for herself and

      3   her children, including R.M.B., for immigration relief in

      4   administrative proceedings, not in judicial court removal

      5   proceedings, but making an affirmative petition for immigration

      6   relief through the United States Citizen and Immigration

      7   Service as a victim of domestic violence.        And that's under the

      8   Violence Against Women Act, which is VAWA.

      9               THE COURT:    Let me ask you this because, you know, you

    10    read the reports.    This youth, this young man, has really been

    11    troubled.    I mean, he's really had a lot of problems, and he

    12    ended up as a coyote bringing people into the U.S. dealing with

    13    gangs and whatever.

    14                MS. WATSON:   That's all been alleged, I would point

    15    out, Your Honor.    There's not a single criminal charge;

    16    certainly no federal charge pending against all of those.

    17                THE COURT:    Also claimed in one of these things if

    18    true that he shot somebody too.

    19                MS. WATSON:   Again, there's nothing in the record to

    20    indicate that that's a true statement or that he ever retracted

    21    that statement, which he tells me he has.

    22                THE COURT:    Okay.    Go ahead.

    23                MS. WATSON:   But again, as Your Honor pointed out,

    24    there's a lot of things that the agency says he said.          We

    25    haven't seen any of that.         He certainly hasn't been allowed any


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      1   contact with his mother.     Ten minutes a day -- ten minutes

      2   twice a week.

      3                But back to my original point that the -- actually

      4   the second point, in addition to having the proceedings

      5   terminated, he's not ever been subject to ORR authority or

      6   detention as an unaccompanied alien child.        And so any

      7   authority that they do have over unaccompanied minors who are

      8   in proceedings do not apply to him.

      9                And finally, of course, we argue that his detention

    10    violates due process.     He has not been -- he doesn't have any

    11    meaningful ability to appeal short of this habeas petition, his

    12    current detention, that he is in custody, as the Government

    13    contends.   And a child custody sort of way is just absolutely

    14    false.   There's no child custody case pending anywhere

    15    regarding this child, certainly not with ORR as a party in

    16    that -- in a child custody litigation.

    17                 And with all due respect to the Court, the federal

    18    courts lack jurisdiction to enter that kind of determination.

    19    Whether ORR is in a better position to -- to care for troubled

    20    youths or immigrant youths or whether his mother is, those are

    21    questions that are left exclusively to the state courts.           And

    22    in this case, the state court has already decided that it is in

    23    R.M.B.'s best interest, as well as that of his siblings, to

    24    reside with his mother, his natural, conservator under state

    25    law.


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      1                And we'll hear a lot from the Government, I

      2   suspect, as we did in their papers, that whether he is a

      3   troubled kid.   The extent of that trouble, I would subject, is

      4   not even relevant.     It's clearly important, and the mother

      5   recognizes it's important, and I don't think that either the

      6   mother or the child would deny that he's had problems.           But at

      7   the end of the day that is the mother's -- a parent's

      8   responsibility to determine how to best handle.

      9                There is nothing in the federal law that grants the

    10    federal government to step in in loco parentis for any child

    11    who is no longer lawfully in federal custody.         The language of

    12    their enabling statute, which is the -- their basis, they

    13    contend, for being able to exceed the -- to continue to make

    14    custody decisions for this child, child custody decisions, also

    15    expressly limits the scope and the duration of their

    16    responsibilities and obligations to immigrant children who are

    17    detained by reason of their federal immigration status.

    18                 We've had a ruling.     This is very -- as tragic as

    19    it is and as troubling as it is on many levels, it's actually a

    20    fairly straightforward question, and that is what legal

    21    authority does the Government have to continue to detain this

    22    child in immigration detention?      And the answer is none, and

    23    the writ should issue.

    24              THE COURT:    Very well.

    25              MS. WATSON:    Thank you, Your Honor.


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      1             THE COURT:     Mr. Barghaan.

      2             MR. BARGHAAN:    Yes, Your Honor.

      3             THE COURT:     I'll let you answer the last point Ms.

      4   Watson made about jurisdiction.

      5             MR. BARGHAAN:    The jurisdiction in what respect, Your

      6   Honor?   My apologies.

      7             THE COURT:     Well, to detain the child.

      8             MR. BARGHAAN:    The Trafficking Victims Protection

      9   Reauthorization Act of 2008 provides at 12 -- Section 1232(c)

    10    of Title 8 that whenever a child is in the custody of ORR, ORR

    11    may not relinquish that custody to any individual unless they

    12    can -- or entity, for that matter, unless they can assure

    13    themselves that the custodian in question - here the

    14    petitioner - can take care of the mental and physical

    15    well-being of the child and would not pose a risk to the child.

    16    That is as the written decisions that have been provided on

    17    petitioner's request provide are well-documented as to why ORR

    18    made an adverse decision in that respect.

    19                 Before I begin with any other comments that I have,

    20    and I promise despite my typical longwinded nature that the

    21    Court will be done with --

    22              THE COURT:     I've read the briefs in the case.

    23              MR. BARGHAAN:    Absolutely, Your Honor.

    24                 I want to -- I do want to thank my co-counsel in

    25    this case.   It's a rarity, but in given these emotional issues,


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      1   my colleagues here could have come in very bombastically.            They

      2   haven't.   And we've been working very well together.         I've

      3   known Mr. Sandoval for some time.

      4              THE COURT:   This has been professionally handled on

      5   both sides.

      6              MR. BARGHAAN:   Thank you, Your Honor.      I concur with

      7   that completely.

      8                 Moreover, my client, ORR in particular, recognizes,

      9   as you said at the very outset of this colloquy, the importance

    10    of the issues and we take this very seriously.         We -- in fact,

    11    my client wants clarity on some of these issues going forward

    12    because there aren't -- there isn't, excuse me, any authority

    13    in the federal court system on these questions.

    14                  And I'm not -- contrary to my colleague's

    15    premonition, I'm not going to wax on about what is in the

    16    records that we provided to Your Honor under seal.          R.M.B. and

    17    his mother both have privacy interests, and I'm not going to

    18    air those terribly in a public forum.       I presume the Court will

    19    read them at its own leisure and make whatever determinations

    20    it needs to in that respect.

    21                  But before getting even more into the merits, I

    22    think it's important to key up -- clear up a key point about

    23    the type of custody that we're describing here.         My colleagues

    24    ask this Court to address this habeas petition as it would a

    25    typical adult detention situation where the question is whether


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      1   the United States has the authority to detain in an appropriate

      2   detention facility an adult on immigration charges.

      3                Here the question is who or which entity is

      4   entitled to exercise in loco parentis custody over this alien

      5   child.   These arguments, the arguments that my colleagues

      6   present to the Court, would be the same if R.M.B. had been

      7   placed with a foster family by ORR, had been placed in a less

      8   secure environment akin to a boarding school, which they do,

      9   or, as he is now, in a juvenile detention facility.

    10                 ORR's charge, Your Honor, the very reason that the

    11    Homeland Security Act established it, was to serve as an entity

    12    independent of the immigration process - independent of the

    13    enforcement arm of the federal immigration authorities so as to

    14    have an independent and to protect the interest of the child.

    15    And despite that that is the express raison d'être of this

    16    agency, the petitioner here argues that ORR must shed itself of

    17    that mandate.   Shed itself of that purpose the moment that

    18    immigration proceedings terminate and must relinquish custody

    19    of an alien child regardless of whether the individual to whom

    20    custody will be relinquished will pose a risk to the child.

    21                 And federal statute simply does not require ORR to

    22    shed itself of that obligation.      And as I said on Your Honor's

    23    initial question, Section 1232(c) prohibits ORR from placing

    24    custody of a child that has been entrusted to its care in any

    25    custodian that it determines, or unless it determines, that the


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      1   custodian in question can take care of the physical and mental

      2   well-being of the child and would not pose a risk to the child.

      3   And that is exactly what ORR has done here.

      4                  ORR didn't blithely or arbitrarily make that

      5   decision.    It has engaged individuals independent and expert

      6   opinions on that question.        We provided the reports, as I have

      7   said.   And each of those reports has concluded that ORR ought

      8   not relinquish custody to the petitioner here.

      9                  Your Honor, the rest of our arguments are pretty

    10    well-established in our papers.         Unless the Court has specific

    11    questions --

    12                THE COURT:    Okay.

    13                MR. BARGHAAN:    -- on this, I'm happy to cede the

    14    podium --

    15                THE COURT:    Okay.

    16                MR. BARGHAAN:    -- and be done.

    17                THE COURT:    Ms. Watson.

    18                MR. BARGHAAN:    I thank the Court for its time.

    19                MS. WATSON:    Just two quick remarks, Your Honor.

    20    Counsel and I would agree and thank counsel for the spirit of

    21    cooperation that we've shared over the past month or so.           It's

    22    never a joy to be in these types of cases, but it's made --

    23    been made much less unpleasant than it need be.

    24                THE COURT:    Good.   Glad to hear it.

    25                   Go ahead.


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      1             MS. WATSON:    Two points.    Counsel points to the TVPRA,

      2   the Trafficking Victims Protection and Reauthorization Act as a

      3   source of authority for ORR's obligation to make determinations

      4   regarding a child's custody.      That, of course, presupposes the

      5   lawful ORR custody in the first place.        Under -- under

      6   respondent's theory if they came into custody either passively

      7   or actively, they could in theory detain and make custody --

      8   child custody determinations over thousands of children in this

      9   custody, children just like R.M.B. who have deferred action

    10    status, who are not in removal proceedings but yet could be in

    11    ORR custody somehow.     I would just say that that source of

    12    legal authorization must derive from lawful possession of the

    13    child.

    14                  And the other thing that I would address is

    15    counsel's concern about nothing says -- nothing requires ORR to

    16    relinquish custody upon a termination.        And there actually is

    17    something that requires that, and that's called the U.S.

    18    Constitution.   It has long been held constitutional that the

    19    government cannot interfere with the parent-child relationship

    20    without the protections of due process of law.         And in this

    21    case there has been no due process.       Their experts who at least

    22    one of them we know receives substantial government funding on

    23    an annual basis.    And all of those reports, those haven't been

    24    challenged.   They're not subject to a neutral arbiter as child

    25    custody cases in the state courts where, should state while the


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      1   child welfare agencies are involved.

      2                Their authority to make those kinds of

      3   determinations for immigrant children ends when those children

      4   are no longer in immigration proceedings.        And then it's up to

      5   the child's mother, or the State of Texas in this case, to make

      6   those kinds of decisions whether it actually is in the child's

      7   best interest, or in the case where a child truly is

      8   unaccompanied and has no parents, then those decisions are best

      9   left to the state child welfare agencies who are better

    10    equipped to take care and more properly equipped to take care

    11    of long-term needs for children who have been abandoned or

    12    abused or neglected by parents.

    13              THE COURT:    Okay.   Thank you.

    14                 You want to make one point, Mr. Barghaan?

    15              MR. BARGHAAN:    Yeah, very quickly on the -- on the due

    16    process point, Your Honor.      Assuming that there is a due

    17    process interest here, the petitioner in this case has

    18    exercised a right to be heard on ORR's determination that she

    19    is not an adequate custodian under the TR -- TVRPA [sic].           She

    20    knew of the home study that was done because she was a part of

    21    it.   Never -- she never requested the file; never requested an

    22    opportunity; never requested, as I said, the files so that she

    23    could make her own statements on that.

    24                 There is a mechanism to be heard on these issues.

    25    As we say in our papers, this is a final agency action by my


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      1   client.    They could have brought an Administrative Procedure

      2   Act claim challenging that determination that more than

      3   satisfies due process in this case, Your Honor.

      4                 I thank the Court for its time.

      5              THE COURT:    Anything further?

      6              MS. WATSON:   I won't belabor the point about due

      7   process.    I think we've made that point.

      8              THE COURT:    Okay.   I understand and it's in your --

      9              MS. WATSON:   In our --

    10               THE COURT:    -- papers as well.

    11               MS. WATSON:   -- papers, Your Honor.

    12               THE COURT:    Thank you.

    13                  Okay.

    14               MS. WATSON:   Could I ask, Your Honor, given the nature

    15    of this case when we might expect to hear from the Court so I

    16    can let my client know?

    17               THE COURT:    Ten days --

    18               MS. WATSON:   Thank you --

    19               THE COURT:    -- roughly.

    20               MS. WATSON:   -- Your Honor.

    21               THE COURT:    I'm going to enter this order on the

    22    sealing memo that the Government has filed.        Any objection to

    23    that?

    24               MS. WATSON:   We don't have objection.      We weren't

    25    contacted beforehand, but we don't object and won't object I


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      1   think going forward.

      2             THE COURT:    Okay.   And just for your records, I've

      3   entered it today.

      4             MR. BARGHAAN:    Thank you, Your Honor.

      5             THE COURT:    Thank you.     It's an important case, and

      6   I'm going to try to get it out in about ten days for you.

      7             MS. WATSON:    Thank you, Your Honor.

      8             MR. SANDOVAL-MOSHENBERG:      Thank you, Judge.

      9             THE COURT:    Thank you.

    10              THE LAW CLERK:    All rise.

    11                (PROCEEDINGS CONCLUDED AT 11:22 A.M.)

    12                                    -oOo-

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    14

    15    UNITED STATES DISTRICT COURT       )
          EASTERN DISTRICT OF VIRGINIA       )
    16
                      I, JULIE A. GOODWIN, Official Court Reporter for
    17    the United States District Court, Eastern District of Virginia,
          do hereby certify that the foregoing is a correct transcript
    18    from the record of proceedings in the above matter, to the best
          of my ability.
    19                I further certify that I am neither counsel for,
          related to, nor employed by any of the parties to the action in
    20    which this proceeding was taken, and further that I am not
          financially nor otherwise interested in the outcome of the
    21    action.
                      Certified to by me this 16TH day of NOVEMBER, 2015.
    22

    23                                     __/s/___________________________
                                           JULIE A. GOODWIN, RPR
    24                                     CSR #5221
                                           Official U.S. Court Reporter
    25                                     401 Courthouse Square
                                           Alexandria, Virginia 22314

                                                          Julie A. Goodwin, CSR, RPR
